Case 1:09-cv-00648-RWR Documen t31 Filed 04/11/11 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

f ;
”
ee ‘ | |

HAN KIM, et al., ]
Plaintiffs, Civil Action No: 09-648 (RWR)

-against-

DEMOCRATIC PEOPLE’S REPUBLIC OF KOREA, et
al.,

 

 

 

Defendants.

me ee ee ee ee et ce ec ll ll ee re ee re rt poy fh diel ll a a a x

SUPPLEMENTAL DECLARATION OF HAN KIM

 

HAN KIM, of St. Charles, Missouri, pursuant to 28 USC § 1746, declares
the following statements to be true, subject to the penalties of perjury:

1. lam a resident of St. Charles, Missourt.

2. I was born on October 23, 1976 in Jinhae, South Korea.

3, I emigrated to the United States from South Korea at the age of 16
in 1992.

4. While still a minor child I became a Permanent Resident of the
United States and was issued a Green Card.

5. While I was attending Millikin University in Decatur, Illinois |

began the application process to become a naturalized American citizen. Although I do

not recall the exact date, I began the application process for United States citizenship
Case 1:09-cv-00648-RWR Documen t31 Filed 04/11/11 Page 2 of 2

sometime in 1999 before my father was abducted. At that time I also became engaged to
the American women who would become my wife. It was my intention to become an
American citizen, be married here and build our lives together, raising our family and
working, in the United States, and that is what I have done. Since my arrival in 1992 |
have owed a permanent allegiance to the United States.

6. I became a United States citizen on March 6% 2003.

I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

Dated: St. Charles, Missouri
April _“/_, 2011

2 —

HAN KIM

 

 
